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                                                                           FEB 14 2020
                                                                            ANGELA E. NOBLE
                       IN THE UNITED ST ATES DISTRICT COURT     CLERK us DIST CT
                                                                S. D Of' FLA. - MIM/11
                      FOR THE SOUTHERN DISTRICT OF FLORIDA .___ _ _ _ _ _ __.
                                    (Miami Division)


  -----------------x

  GENESIS TAN,
                                  Plaintfff,

              - against -                               Docket No. - - - - -

  SUSHI Y AMA JAPANESE RESTAURANT,
                                                        20-cv-20679-Williams/Torres
  INC., d/b/a MOSHI MOSHI, MUTSUHIKO
  YUH ARA and TOSHIO FUR.IHATA,
                               Defendants.

  ------------------x




                                COMPLAINT




                                       GENESIS TAN
                                1951 Park Avenue, Apt. 11
                                  Miami Beach, FL 33139
                                   Tel. No. 561-843-6608
                            Email: genesis tan2005@yahoo.com

                                     Pro Se Plaint(ff
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                       (Miami Division)

    ------------------x

    GENESIS TAN,
                                          Plaintff/,
                                                                  Docket No. - - - - -
                   - against -
                                                                  COMPLAINT
    SUSHI Y AMA JAPANESE RESTAURANT,                              Trial by Jury
    INC., d/b/a MOSHI MOSHI, MUTSUHIKO
    YUHARA and TOSHIO FURIHATA,
                                 Defendants.

    ------------------x

           PLAINTIFF GENESIS TAN, prose, respectfully alleges as follows:

                                    PRELIMINARY STATEMENT

            1.     This matter is a straightforward wage and hour case premised on Defendants'

    willful violations of the minimum wage and overtime wage provisions of the Fair Labor

    Standards Act of 1938, as amended, 29 U.S.C. §§ 20 I et seq. ("FLSA"), and the Florida

    Minimum Wage Act ("FMW A"), s. 24, Art. X, Florida State Constitution.

                                        JURISDICTION AND VENUE

           2.      This is an action for damages in excess of seventy five thousand dollars ($75,000)

    against all Defendants, exclusive of interests, costs and attorney's fees.   This Court has subject

    matter jurisdiction pursuant to 29 U.S.C. § 216(b) in that the claim arises from the Fair Labor

   Standards Act (FLSA), and 28 U.S.C. § 1331 (federal question).

           3.      This Court has supplemental jurisdiction over the related state law claims asserted

   herein under the doctrine of pendent jurisdiction and pursuant to 28 U.S.C. § 1367. Supplemental
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    jurisdiction over those claims is appropriate because they arise from the same common nucleus

    of operative facts from which the federal claim arises.

            4.      Venue is proper in this District pursuant to 28 U.S.C. §l39l(b) because a

    substantial part of the events or omissions giving rise to the claims occurred in the Southern

    District of Florida.

                                                  PARTIES

            5.      Plaintiff Genesis Tan ("Tan" or "Plaintiff') is an adult male individual residing in

    Miami-Dade County, state of Florida.

            6.      Defendant Sushi Y ama Japanese Restaurant, Inc. ("Defendant Moshi Moshi") is,

    upon information and belief, a corporation duly organized and existing under the laws of the

    state of Florida, and does business as ''Moshi Moshi".

            7.      Defendant Mutsuhiko Yuhara ("Defendant Yuhara") 1s, upon information and

    belief, a resident of the state of Florida.

            8.      Defendant Yuhara was, upon information and belief, an owner or manager, officer

    or agent of Defendant Moshi Moshi during all times relevant hereto.

            9.      Defendant Toshio Furihata (''Defendant Furihata") 1s, upon information and

    belief, a resident of the state of Florida.

            l 0.    Defendant Furihata was, upon information and belief, an owner or manager,

    officer or agent of Defendant Moshi Moshi during all times relevant hereto.

            l l.    Upon information and belief, Defendants, at all times material, conducted

    substantial and continuous business in the Southern District of Florida.

            l 2.    At all times material hereto, each of the Defendants and together constituted an

    "employer" within the meaning of 29 U.S.C. § 203 (d) of the Fair Labor Standards Act




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               13.    At all times material hereto, each of the Defendants and together constituted an

    "employer" within the meaning of the Fla. Const Art X, §24 and Fla. Stat §448 l l 0, which

    adopt the FLSA's definition of"employer".

               14.    During all times relevant hereto, Defendants exercised ownership and/or

    managerial responsibilities at the Moshi Moshi restaurants where Plaintiff worked.

               15.    Upon information and belief, Defendants had power over personnel decisions.

               16.    Upon information and belief, Defendants had power over payroll decisions.

               l 7.   Upon information and belief, Defendants had the power to hire and fire the

    Plaintiff, establish and pay his wages, set his work schedules and maintain his employment

    records.

               18.    At all times material hereto, Plaintiff Tan was an "employee" of Defendants

    within the meaning of the FLSA

               19.    At all times material hereto, Defendants were engaged in the operation of several

    Japanese restaurants, including the ones located at 1448 Washington Avenue, Miami Beach,

    Florida 33139 and at 7232 Biscayne Boulevard, Miami, Florida 33138, both within the Southern

    District of Florida, and which restaurants served food and beverages to customers.

           20.        At all times material hereto, Defendants were each an "enterprise" engaged in

    interstate commerce pursuant to 29 U.S.C § 203(r) and (s) of the FLSA

           21.        At all times material hereto, Defendants regularly owned and operated a business

    engaged in commerce as defined in 29 U.S.C § 203(r) and (s) of the FLSA

           22.        At all times material hereto, Defendants have had four or more employees who

    regularly sold, handled, or otherwise worked on goods and/or materials that have been moved in

    or produced for commerce, including but not limited to, by way of example, food and beverage




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    products such as seafood, fishes, buns, potatoes, soda, commercial kitchen appliances and

    equipment, such as broilers, fryers, refrigerators and freezers, and cleaning supplies such as soap

    and commercial cleaning products.

           23.        At all relevant times, Defendants were and continue to be an "enterprise engaged

    in commerce" because they utilized essential business equipment, such as cooking and cleaning

    equipment, as well as freezers, ovens, and other cooking supplies that, upon information and

    belief, were manufactured outside the state of Florida, and were moved in interstate commerce.

           24.        Upon information and belief, at all relevant times, Defendants regularly used,

    sourced out and ordered their seafood products and cooking equipment, by ordering either

    through the telephone or through online, with supply and distribution companies various supplies

    such as various seafood products and cooking and dining utensils, which were either

    manufactured outside the state or delivered crossing state lines.

           25.        At all times material hereto, annual gross revenue of Defendants was, upon

    information and belief, in excess of $500,000 per annum during the relevant time periods.

           26.     At all times material hereto, Plaintiff Tan was ''engaged in commerce" within the

    meaning of the FLSA. His work involved handling on a regular and recurrent basis "goods" or

    "materials" that were used commercially in Defendants' Moshi Moshi business and that moved

    in interstate commerce. Plaintiff regularly and recurrently handled foods, drinks, and other goods

    or materials which were originally manufactured outside the State of Florida.

           27.     During all times relevant to this action, Plaintiff was a non-exempt employee of

    Defendants who was subject to the payroll practices and procedures described herein and worked

    in excess of forty (40) hours during one or more workweeks within three (3) years of the filing of

    this Complaint.
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           28.     At all times material hereto, the work performed by the Plaintiff was directly

    essential to the business performed by Defendants.

                                       STATEMENT OF FACTS

           29.     Defendants hired the services of Plaintiff Tan as a server at their Moshi Moshi

    restaurant on or about March 13, 2016.

           30.     Throughout his employment with Defendants, Plaintiff regularly worked more

    than forty (40) hours per week at Defendants' Moshi Moshi restaurants, where his primary duties

    consisted of non-exempt tasks such as running the cashier, assisting customers with their orders,

    food preparation, cleaning and related duties through the restaurants.

           31.     Throughout his employment with Defendants, Plaintiff was required to work on a

    regular basis the following schedules at Defendants' two Moshi Moshi restaurants:

                   Mondays - from 7 pm to 5 am (of Tuesdays), at Biscayne restaurant:

                   Tuesdays - days off;

                   Wednesdays - days off;

                   Thursdays- from 8:30 pm to 6 am (of Fridays), at the Washington restaurant

                   Fridays - from 8:30 pm to 6 am (of Saturdays), at the Washington restaurant

                   Saturdays - from 8:30 pm to 6 am (of Sundays), at the Washington restaurant

                   Sundays - from 8: 30 pm to 6 am (of Mondays), at the Washington restaurant.

           32.     As shown above, Defendants regularly suffered or required Plaintiff to work in

    excess of forty (40) hours per week during the period of his employment. Plaintiff worked an

    average of at least forty eight (48) hours per week.

           33.     Defendants did not compensate Plaintiff at the statutorily-required minimum

    wage rate for all of his hours of work.




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             34.    Worse, although Plaintiff worked more than forty (40) hours each workweek,

    Defendants did not pay him time and a half for the extra hours beyond forty (40) each workweek.

             35.    Defendants did not compensate Plaintiff any hourly wage rate.

             36.    Defendants did pay Plaintiff a fifteen percent ( 15%) tip of his gross cash and

    credit card sales each day. After computing Plaintiffs total tip amount, Defendants deducted

    eighteen percent (18%) from said total tip amount and kept for themselves said l 8% of

    Plaintiffs l 5% total tip amount.

             37.    Throughout the period of Plaintiffs employment, Defendants limited Plaintiffs

    tip to 15%. As and by way of illustration, let us assume Plaintiff had a customer that had $ l 00

    gross cash sales, and said customer left behind additional $50 as tip for a total payment of$ l 50.

    Defendants did not give Plaintiff the $50 tip, but only gave him a tip of $15.00, equivalent to

    l 5% of the gross cash sales.

            38.     As and by way of another illustration, let us assume Plaintiff had a customer that

    had $200 gross credit card sales, and said customer agreed to be debited from his credit card

    additional $80 as tip or service charge, for a total payment of $280. Defendants did not give

    Plaintiff the $80 tip, but only gave him a tip of $30.00. Defendants kept for themselves $50 of

    the tip or service charge.

            39.     Defendants failed to properly disclose or apprise Plaintiff of his rights under the

    FLSA and/or the FMW A.

            40.     Defendants failed to inform Plaintiff of information required to be entitled to take

    a tip credit.

            4 l.    Defendants failed to provide Plaintiff with the legally required notice of the ''tip

    credit" provisions.
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              42.   Defendants did not allow Plaintiff to retain all of his tips.

              43.   Defendants' failure to permit the Plaintiff whom they employed to retain all tips

    received made Defendants ineligible to take a "'tip credit" for Plaintiff.

              44.   Since Defendants were unable to claim a "tip credit", they were required to

    compensate Plaintiff whom they employed with at least the full Florida minimum wage for all

    hours worked.

              45.   Defendants failed to pay the Plaintiff the minimum wage for hours worked as a

    server.

              46.   At the end of each working day, Defendants further made deductions from

    Plaintiffs total tip amount. As and by way of illustration, let us assume that Plaintiffs total tip

    amount from his cash and credit card sales amounted to $100.00. Defendants deducted eighteen

    percent (18%) from the $100 total tip amount, and kept the said amount of $ I 8. 00 for

    themselves. Thus, in this illustration, Plaintiff earned only $82.00 as his net tip amount for a day.

              47.   To further illustrate Defendants' payroll practices, let us assume Defendants paid

    Plaintiff $82.00 a day. If Plaintiff worked five days a week, as was his regular schedule,

    Defendants would have paid him only $410. 00 as his total wages for the whole week.

              48.   Had Defendants properly paid Plaintiff his wages, they would have paid him at

    least the minimum wage rate multiplied by 40 hours, plus time and a half of the minimum wage

    rate multiplied by 8 hours.

              49.   Additionally, Defendants did retain a portion of Plaintiffs tips, which should

    have been the sole property of the Plaintiff.




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           50.     Defendants knowingly and willfully failed to pay Plaintiff the minimum wage rate

    for all of his hours of work up to 40 hours a week, and time and one-half of the applicable

    regular rates of pay for all hours worked for Defendants in excess of forty (40) per week.

           51.     At all times material to this Complaint, Defendants had constructive and actual

    notice that Defendants' compensation practices did not provide Plaintiff the applicable minimum

    wage rates and also time and one-half wages for all of his actual overtime hours, based upon,

    inter alia, (a) Defendants' recording of at least some of the start times, stop times, number of

    hours worked each day, and total hours worked each week by Plaintiff, and (b) Defendants'

    knowingly failing to pay time and one-half wages for all of the actual hours worked in excess of

    forty (40) hours per week by Plaintiff.

           52.     By reason of the said intentional, willful and unlawful acts of Defendants,

    Plaintiff suffered damages.

           53.     Defendants did not have a good faith basis for their failure to pay the applicable

    minimum wage rates and overtime wages required by law for all of the actual hours worked by

    Plaintiff. As a result, Plaintiff is entitled to the recovery of liquidated damages in an amount

    equal to his unpaid minimum and overtime wages.

           54.     Plaintiff left Defendants' employment on or about April 22, 2018.

                                     FIRST CAUSE OF ACTION
                      (Violation of the Minimum Wage Provisions of the FLSA)

           55.     Plaintiff re-alleges and incorporates by reference each and every allegation

    contained in the preceding paragraphs as if set forth fully herein.

           56.     Defendants engaged in a widespread pattern, policy and practice of violating the

    FLSA, as detailed in this Complaint.
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              57.    At all times relevant, Plaintiff was employed by Defendants engaged in commerce

    and/or the production or sale of goods for commerce within the meaning of 29 U.S.C. §§ 20 I et

    seq.

              58.    At all times relevant, Plaintiff was or has been an employee within the meaning of

    29 U.S.C. §§ 201 et seq.

              59.    At all times relevant, Defendants have been employers of Plaintiff, engaged in

    commerce and/or the production of goods for commerce within the meaning of 29 U.S.C. §§ 20 I

    et seq.

              60.    At all times relevant hereto, Plaintiff was a server performing duties and

    responsibilities essential to Defendants' restaurant business.

              6 l.   As such, Plaintiff is entitled to protection under the FLSA' s mm1mum wage

    prov1s1ons.

              62.    Defendants failed to pay Plaintiff the applicable minimum hourly rate, in violation

    of 29 U.S.C. § 206(a).

              63.    Defendants' failure to pay Plaintiff at the applicable minimum hourly rate was

    willful within the meaning of 29 U.S.C. § 255(a). Defendants were aware or should have been

    aware that the practices described in this Complaint were unlawful. Defendants have not made a

    good faith effort to comply with the FLSA with respect to the compensation of the Plaintiff.

              64.    Plaintiff was damaged in an amount to be determined at trial.

                                     SECOND CAUSE OF ACTION
                       (Violation of the Overtime Wages Provisions of the FLSA)

              65.    Plaintiff re-alleges and incorporates by reference each and every allegation

    contained in the preceding paragraphs as if set forth fully herein.




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              66.     Defendants engaged in a widespread pattern, policy and practice of violating the

    FLSA, as detailed in this Complaint.

              67.     At all times relevant, Plaintiff was employed by the Defendants engaged in

    commerce and/or the production or sale of goods for commerce within the meaning of 29 U.S.C.

    §§ 20 I et seq.

              68.     At all times relevant, Plaintiff was or has been an employee within the meaning of

    29 U.S.C. §§ 201 et seq.

              69.     At all times relevant, Defendants have been employers of Plaintiff, engaged in

    commerce and/or the production of goods for commerce within the meaning of 29 U.S.C. §§ 20 I

    et seq.

              70.     The overtime wage provisions set forth in the FLSA, 29 U.S. C. §§ 20 l et seq.,

    and the supporting federal regulations, apply to Defendants and protect the Plaintiff.

              71.     Defendants failed to pay Plaintiff the premium overtime wages to which he is

    entitled under the FLSA for all hours worked beyond forty (40) per workweek.

              72.     Defendants' unlawful conduct, as described in this Complaint, was willful and

    intentional. Defendants were aware or should have been aware that the practices described in

    this Complaint were unlawful. Defendants have not made a good faith effort to comply with the

    FLSA with respect to the compensation of the Plaintiff.

              73.     As a result of Defendants' willful violations of the FLSA, Plaintiff has suffered

    damages by being denied overtime compensation in an amount to be determined at trial, and is

    entitled to recovery of such amount, liquidated damages, prejudgment interest, costs, and other

    compensation pursuant to 29 U.S.C. §§ 20 I et seq.

                                       THIRD CAUSE OF ACTION
                       (Violation of the Minimum Wage Provisions of the FMW A)



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            74.    Plaintiff re-alleges and incorporates by reference each and every allegation

    contained in the preceding paragraphs as if set forth fully herein.

            75.    At all times relevant to this action, each Defendant was Plaintiffs employer

    within the meaning of the FMW A.

            76.    Defendants had the power to hire and fire Plaintiff, controlled his terms and

    conditions of employment, and determined the rates and methods of any compensation in

    exchange for his employment.

            77.    Defendants, in violation of the FMW A, paid Plaintiff less than the m1mmum

    wage.

            78.    Defendants' failure to pay Plaintiff minimum wage was willful within the

    meaning of the FMW A.

            79.    Plaintiff has been damaged in an amount to be determined at trial.

                                        PRAYER FOR RELIEF

            WHEREFORE, Plaintiff respectfully requests the following relief as against Defendants:

            l.     Unpaid minimum and overtime wages, and an additional and equal amount as

    liquidated damages pursuant to the FLSA and the supporting United States Department of Labor

    Regulations;

            2.     Unpaid minimum wages and an additional amount as liquidated damages pursuant

    to the FMWA;

            3.     Pre-judgment and post-judgment interest

            4.     Expenses and costs of the action; and

            5.     Such other relief as this Court shall deem just and proper.

                                     DEMAND FOR JURY TRIAL



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           Plaintiff demands a trial by jury on each and every claim set forth herein.

    Dated: Miami, Florida.
           February 14, 2020.


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                                                                  Miami Beach, FL 33139
                                                                  Tel. No. 561-843-6608
                                                                  Email: genesis tan2005@yahoo.com




                                            VERIFICATION

    ST ATE OF FLORIDA        )
    COUNTY OF &~J1,'.--)4 Jc ) S.S.

           I, GENESIS TAN, of legal age, and presently residing in Miami Beach, FL, after having

    been sworn in accordance with law, hereby state that I am the Plaintiff in the within

    Action/Complaint. I have read the foregoing Complaint and know the contents thereof The

    contents are true to my knowledge, except as to matters therein stated to be alleged upon

    information and belief, and as to those matters, I believe them to be true.




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